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U.S. DISTRICT COURT (Rev. 2/2005) Sheet 1 - Judgment in a Criminal Case with Supervised Release Judgment Page 1 of 6

United States District Coumrtiveo

oo US MARSHALS
District of Maryland gpreNgciy. MARYLAND

Dt
UNITED STATES OF AMERICA JUDGMENT IN ale INALC Cake
(For Offenses Committed on or eu November 1, 1987)

V.
Case Number: RWT-04—0235
LAVON DOBIE USM Number: 38360-037
Defendant’s Attorney: Peter Ward, Esq.(CJA)
. gockes FILED ENTERED
Assistant U.S. Attorney:_Deboralpgiphnstonadigg, and
Bonnie Greenberg, Esq.

THE DEFENDANT: JAN 5 2/07
pleaded guilty to count(s) AT GREENSELT
J pleaded nolo contendere to count(s) , which was accepted by the COE ore

was found guilty on count(s) _1. 34. 47. 50, 53. 57 & 61 of the Fifth Superséding-imtictmrent—after eplva of
not guilty.

Date Count

Title & Section Nature of Offense Offense Concluded cae

21 U.S.C. 846 Conspiracy to distribute and Possess with Intent to Distribute 06/01/04

Controlled Substances
21 U.S.C. 843(b Use of a Communications Device to Facilitate Narcotics 05/18/04
Trafficking 34, 47, 50, 53 & 57
18 U.S.C. 924 (c) Possession of a firearm in Furtherance of a Drug Trafficking OGD LCF 61
Crime

The defendant is adjudged guilty of the offenses listed above and sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed

pursuant to the Sentencing Reform Act of 1984 as modified by U.S. v. Booker, 125 S. Ct. 738 (2005).

The defendant has been found not guilty on count(s)
z:1 The Original, First, Second, Third and Fourth Superseding Indictment as to this defendant only are dismissed on the motion of
the United States.

IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence, or mailing
address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.

Name of Court Reporter: T. Dunlap December 19, 2006
301-344-3912 Date of pean of Judgment

ae ge? January Nad
-—-ROGER W. THUS "Date
UNITED STATES DISTRICT JUDGE

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U.S. DISTRICT COURT (Rev. 4/2004) Sheet 2 - Judgment in a Criminal Case with Supervised Release Judgment Page 2 of 6

DEFENDANT: LAVON DOBIE CASE NUMBER: RWT-04—0235

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
a total term of _146 months as to count 1; 48 months as to each of counts 34, 47, 50, 53 and 57 concurrent to count
1 and 60 months as to count 61 consecutive to all other counts for a total of 206 months.

The court makes the following recommendations to the Bureau of Prisons:

1. The defendant shall satisfactorily participate in a mental health treatment program approved by the probation
officer, which may include evaluation, counseling, and testing as deemed necessary by the probation officer.

2. The defendant should participate in the Residential Drug Abuse program when and if she is eligible.

The defendant is remanded to the custody of the United States Marshal.
[_] The defendant shall surrender to the United States Marshal for this district:

at a.m./p.m. on
as notified by the United States Marshal.

The defendant shall surrender, at his/her own expense, to the institution designated by the Bureau of Prisons at
the date and time specified in a written notice to be sent to the defendant by the United States Marshal. If the
defendant does not receive such a written notice, defendant shall surrender to the United States Marshal:

before 2 p.m. on

A defendant who fails to report either to the designated institution or to the United States Marshal as
directed shall be subject to the penalties of Title 18 U.S.C. §3146. If convicted of an offense while on release,
the defendant shall be subject to the penalties set forth in 18 U.S.C. §3147. For violation of a condition of
release, the defendant shall be subject to the sanctions set forth in Title 18 U.S.C. §3148. Any bond or
property posted may be forfeited and judgment entered against the defendant and the surety in the full
amount of the bond.

RETURN
I have executed this judgment as follows:

Defendant delivered on to at
, with a certified copy of this judgment.

UNITED STATES MARSHAL

By:

DEPUTY U.S. MARSHAL
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DEFENDANT: LAVON DOBIE CASE NUMBER: RWT-04-0235
SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of five (5) years as to each of
counts 1 and 61 and one (1) year as to each of counts 34, 47, 50, 53 and 57. All counts are concurrent .

The defendant shall comply with all of the following conditions:

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of
release from the custody of the Bureau of Prisons.

A. STATUTORY CONDITIONS OF SUPERVISED RELEASE

1) The defendant shall not commit any federal, state or local crime.

2) Inany felony case, the defendant shaBl)not Poussisfea dareasha lb mamnitiegailynuse defposddss b&cbn&dllgP2ilbstance.

4) The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic
drug tests thereafter, as directed by the probation officer.

The above drug testing condition is suspended based on the court’s determination that the defendant poses

a low risk of future substance abuse. (Check, if applicable.)

5) Pursuant to Pub. Law 108-405, Revised DNA Collection Requirements Under the Justice for All Act of 2004, if
applicable, the defendant shall cooperate in the collection of DNA while incarcerated in the Bureau of Prisons, or as directed
by the probation officer.

6) If this judgment imposes any criminal monetary penalty, including special assessment, fine, or restitution, it shall
be a condition of supervised release that the defendant pay any such monetary penalty that remains unpaid at the
commencement of the term of supervised release in accordance with the Schedule of Payments set forth in the Criminal
Monetary Penalties sheet of this judgment. The defendant shall notify the court of any material change in the defendant’s
economic circumstances that might affect the defendant’s ability to pay restitution, fines, or special assessments.

B. STANDARD CONDITIONS OF SUPERVISION

1) The defendant shall not leave the judicial district without the permission of the court or probation officer;

2) The defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
five days of each month;

3) The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
officer;

4) The defendant shall support his or her dependents and meet other family responsibilities;

5) The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training,
or other acceptable reasons;

6) The defendant shall notify the probation officer ten days prior to any change in residence or employment;

7) The defendant shall refrain from excessive use of alcohol;

8) The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any persons
convicted of a felony unless granted permission to do so by the probation officer;

10) The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
confiscation of any contraband observed in plain view of the probation officer;

11) The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a law enforcement
officer;

12) The defendant shall notify the probation officer within 72 hours of being charged with any offense, including a traffic
offense;

13) The defendant shall not enter into any agreement to act as an informer or special agent of a law enforcement agency
without the permission of the court;

14) As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
defendants’s criminal record or personal history or characteristics, and shall permit the probation officer to make such
notifications and to confirm the defendant’s compliance with such notification requirement.
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DEFENDANT: LAVON DOBIE CASE NUMBER: RWT-04-0235

C. SUPERVISED RELEASE
ADDITIONAL CONDITIONS

1. The defendant shall satisfactorily participate in a treatment program approved by the probation officer relating to substance
and/or alcohol abuse, which may include evaluation, counseling, and testing as deemed necessary by the probation officer.
2. The defendant shall provide the probation officer with access to any requested financial information.

3. The defendant shall not incur new credit charges or open additional lines of credit without approval of the probation

officer.

4. The defendant shall pay the special assessment ($700) as imposed herein.
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DEFENDANT: LAVON DOBIE CASE NUMBER: RWT-04-0235

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 5B.

Assessment Fine Restitution
TOTALS $ 700.00 8 §
O CVB Processing Fee $25.00

0 . An Amended Judgment in a Criminal Case (AO 245C) will be

The determination of restitution is deferred until gag
entered after such determination.

(] The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(j), all nonfederal
victims must be paid before the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage
TOTALS $ 0 $ 0

C]_ Restitution amount ordered pursuant to plea agreement

C] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6
may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

L] The court determined that the defendant does not have the ability to pay interest and it is ordered that:
(the interest requirement is waived for OO fine (restitution.

[] the interest requirement for {] fine [J] restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
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DEFENDANT: LAVON DOBIE CASE NUMBER: RWT-04-0235

SCHEDULE OF PAYMENTS

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.

Payment of the total fine and other criminal monetary penalties shall be due as follows:

A In full immediately; or

B $ immediately, balance due (in accordance with C, D, or E); or

E J Not later than ; or

D Installments to commence day(s) after the date of this judgment.

E In (e.g. equal weekly, monthly, quarterly) installments of $ over a period of year(s)

to commence when the defendant is placed on supervised release.

The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.
Unless the court expressly orders otherwise, if this judgment imposes a period of imprisonment, payment of criminal monetary penalties
shall be due during the period of imprisonment. All criminal monetary penalties except those payments made through the Bureau of
Prisons Inmate Financial Responsibility Program, are to be made to the Clerk of the Court..
If the entire amount of criminal monetary penalties is not paid prior to the commencement of supervision, the balance shal] be paid:

Cj in equal monthly installments during the term of supervision; or

on a nominal payment schedule of $ per month during the term of supervision.
The U.S. probation officer may recommend a modification of the payment schedule depending on the defendant’s financial circumstances.
Special instructions regarding the payment of criminal monetary penalties:

CL] Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

The defendant shall pay the cost of prosecution.
(1 The defendant shall pay the following court cost(s):

The defendant shall forfeit the defendant’s interest in the following property to the United States:
